        Case 1:20-cv-07338-JMF-SLC Document 27 Filed 01/12/21 Page 1 of 4




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
HECTOR GONZALEZ,                                                       :
                                                                       :
                                    Plaintiff,                         :   20-CV-7338 (JMF) (SLC)
                                                                       :
                  -v-                                                  :          ORDER
                                                                       :
COMMISSIONER OF SOCIAL SECURITY,                                       :
                                                                       :
                                    Defendant.                         :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        Earlier today, the Court received a letter, attached as Exhibit A, from Plaintiff Hector

Gonzalez, which appears to consist of a letter Mr. Gonzalez received from the New York County

Lawyer’s Association Pro Bono Social Security/SSI Project, dated October 5, 2020.

        Defendant shall promptly mail a copy of this Order to Plaintiff and file proof of such

service on the docket.

        SO ORDERED.

Dated: January 12, 2021                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
Case 1:20-cv-07338-JMF-SLC Document 27 Filed 01/12/21 Page 2 of 4




                 EXHIBIT A




                                2
Case 1:20-cv-07338-JMF-SLC Document 27 Filed 01/12/21 Page 3 of 4
Case 1:20-cv-07338-JMF-SLC Document 27 Filed 01/12/21 Page 4 of 4
